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                        Exhibit L
3/21/2018                                         CORP/LLC
                         Case 1:16-cv-00940-SS Document    - File DetailFiled
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            CORPORATION FILE DETAIL REPORT
             File Number                70997797

             Entity Name                COMMUNITY LEGAL GROUP, LTD.

             Status                     ACTIVE

             Entity Type                CORPORATION               Type of Corp                  DOMESTIC BCA

             Incorporation Date         11/15/2016                State                         ILLINOIS
            (Domestic)

             Agent Name                 INCORP SERVICES INC       Agent Change Date             03/30/2017

             Agent Street Address       901 S 2ND ST STE 201      President Name & Address      MICHAEL J. WOOD

             Agent City                 SPRINGFIELD               Secretary Name & Address

             Agent Zip                  62704                     Duration Date                 PERPETUAL

            Annual Report Filing        11/07/2017                For Year                      2017
            Date

             Assumed Name               ACTIVE - COMMUNITY LAWYERS GROUP, LTD.
                                        ACTIVE - CLG, LTD.

            Return to the Search Screen                                   Select Certificate of Good Standing for Purchase




                                                                                        (One Certificate per Transaction)


            OTHER SERVICES

              File Annual Report


              Adopting Assumed Name


              Articles of Amendment Effecting A Name Change


              Change of Registered Agent and/or Registered Office Address


   
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